Case 2:11-cv-07382-WJM-JBC Document 327 Filed 12/28/18 Page 1 of 4 PageID: 12988



                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


      IN RE: TROPICANA ORANGE JUICE
      MARKETING AND SALES PRACTICES                              Civ. No. 2:11-07382
      LITIGATION
      MDL 2353

                                                                 OPINION
      This Document Relates To:
      ALL CASES




          WILLIAM J. MARTINI, U.S.D.J.:

          THIS MATTER comes before the Court upon the Motion for Certification of
  Modified Class, Appointment of Class Representatives, and Appointment of Class
  Counsel, filed by Plaintiff Angelena Lewis1 on October 19, 2018. ECF No. [320]
  (“Renewed Motion”). Ten days after Plaintiff filed her motion, Defendant filed a letter
  brief arguing that the Court should stay briefing on the Renewed Motion and should allow
  Defendant to first move for summary judgment on the claims of the individually named
  plaintiffs in this multi-district litigation. ECF No. [323]. Plaintiff objected by way of letter
  brief on November 1, 2018, ECF No. [324], and Defendant filed a reply letter brief on
  November 5, 2018, ECF No. [325]. The Court now resolves the issues raised by the parties
  in their letters.
          I.     BACKGROUND
         The Renewed Motion is Plaintiff’s third attempt to move for class certification. See
  ECF Nos. [144], [270], & [320]. On January 22, 2018, the Court denied certification by
  way of a written opinion. ECF No. [311]. In the opinion, the Court found that Plaintiff
  met the Rule 23(a) requirements for certification but failed to meet the requirements set
  forth under Rule 23(b)(2) and (b)(3). Specifically, the Court held that the common law
  claims of unjust enrichment and breach of express warranty and the claims under the New
  Jersey Consumer Fraud Act failed because individual issues predominated over common
  issues concerning consumers’ motivations when deciding to purchase Defendant’s orange
  juice product Tropicana Pure Premium. Id. at 5–11. The Court further found that the

  1
   The Court will refer to “Plaintiff” in the singular based on her representation in the Renewed
  Motion that she alone seeks certification on behalf of the putative class.

                                                 1
Case 2:11-cv-07382-WJM-JBC Document 327 Filed 12/28/18 Page 2 of 4 PageID: 12989



  consumer protection claims under New York and California law failed because Plaintiff
  did not show by a preponderance of the evidence that she could successfully implement a
  reliable and administratively feasible mechanism for determining whether putative class
  members fall within the class definition. See id. at 11–16. Finally, the Court found that
  Plaintiff lacked standing to pursue injunctive relief under Rule 23(b)(2) because Plaintiff
  failed to show a real and immediate threat of future injury by a preponderance of the
  evidence. See id. at 16–17.
         Plaintiff then moved for reconsideration. ECF No. [313]. The Court denied
  reconsideration on May 24, 2018. Approximately five months later, Plaintiff filed the
  Renewed Motion. ECF No. [320].
         II.    THE INSTANT MOTION
         In the Renewed Motion, Plaintiff seeks certification of two subclasses that Plaintiff
  argues correct the deficiencies noted by the Court in its opinion denying class certification.
  Plaintiff moves for certification of two modified subclasses as follows:
                All consumers who were or are members of a Costco Wholesale
                Store in the State of California and who purchased Tropicana Pure
                Premium Orange Juice at a Costco Wholesale store in the State of
                California between January 1, 2008 and the present (“California
                Class”).
                All consumers who were or are members of a Costco Wholesale
                Store in the State of New York and who purchased Tropicana Pure
                Premium Orange Juice at a Costco Wholesale store in the State of
                New York between January 1, 2008 and the present (“[New York]
                Class”).
          Instead of responding to the Renewed Motion, Defendant filed a letter brief
  requesting leave of Court to file motions for summary judgment in lieu of responding to
  the Renewed Motion. ECF No. [323]. In sum, Defendant argues that moving for summary
  judgment against the named plaintiffs prior to any renewed motion for class certification
  would be a more efficient use of the resources of the Court and the parties because the
  Renewed Motion merely rehashes arguments already rejected by the Court on class
  certification and reconsideration. Id. at 2. As noted above, Plaintiff objected to the letter
  brief by way of its own letter brief. ECF No. [324]. Defendant filed a reply. ECF No.
  [325].
         III.   ANALYSIS
         Despite its arguments that the Court should not permit Plaintiff to pursue the
  Renewed Motion, Defendant has not cited, and the Court has not found, authority which
  would suggest that once Plaintiff moved unsuccessfully for class certification or
  reconsideration of her class certification motion, Plaintiff is precluded from filing the
  Renewed Motion. ECF No. [324]. In fact, Federal Rule of Civil Procedure 23(c)(1)(C)
  expressly allows courts to alter or amend orders granting or denying class certification


                                                2
Case 2:11-cv-07382-WJM-JBC Document 327 Filed 12/28/18 Page 3 of 4 PageID: 12990



  “prior to the entry of final judgment.” Gutierrez v. Johnson & Johnson, 523 F.3d 187, 199
  n. 12 (3d Cir. 2008) (citing McNamara v. Felderhof, 410 F.3d 277, 280 (5th Cir. 2005).
  Thus, on a successive motion for class certification such as Plaintiff’s here, the district
  court has “ample discretion to consider (or to decline to consider) a revised class
  certification motion after initial denial.” In re Initial Pub. Offering Sec. Litig., 483 F.3d
  70, 73 (2d Cir. 2007) (collecting cases).
         However, while a district court may revisit a prior denial of class certification, such
  motions are generally only proper when “there is a change in the circumstances or facts
  since that prior denial.” Barton v. RCI, LLC, No. 10-CV-03657 PGS, 2014 WL 5762214,
  at *1 (D.N.J. Nov. 5, 2014) (citing Gutierrez v. Johnson & Johnson, 269 F.R.D. 430, 433–
  34 (D.N.J. 2010)). A change in circumstances or facts includes “developments in the
  factual background, a modified proposed class definition, new class representatives, or any
  other changes which may cure defects earlier found by the court.” Gutierrez, 269 F.R.D.
  at 434 (citing Zenith Labs., Inc. v. Carter–Wallace, Inc., 530 F.2d 508, 512 (3d Cir. 1976);
  Bayshore Ford Truck v. Ford Motor Co., Civ. No. 99–741, 2010 WL 415329, at *2 (D.N.J.
  Jan. 29, 2010); In re Fleetboston Fin. Corp. Sec. Litig., 253 F.R.D. 315, 338 (D.N.J. 2008).
  Thus, “it is not uncommon for district courts to permit renewed certification motions that
  set out a narrower class definition or that rely upon different evidence or legal theories.”
  D.C. by & through Garter v. Cty. of San Diego, No. 15CV1868-MMA (NLS), 2018 WL
  692252, at *1 (S.D. Cal. Feb. 1, 2018) (citing Hartman v. United Bank Card, Inc., 291
  F.R.D. 591, 597 (W.D. Wash. 2013).
          Here, Plaintiff’s Renewed Motion seeks certification of two narrowed subclasses.
  Upon review of the record and the applicable law, the Court finds Plaintiff’s Renewed
  Motion is both permitted and appropriate. The Court’s prior opinion denying class
  certification highlighted specific deficiencies under Rule 23, and Plaintiff has refiled her
  motion ostensibly seeking to cure those deficiencies. Initial, 483 F.3d at 73 (“Nothing in
  our decision precludes the Petitioners from returning to the District Court to seek
  certification of a more modest class, one as to which the Rule 23 criteria might be met,
  according to the standards we have outlined.”). And, while the Court properly declined to
  consider a modified class definition for the first time on reconsideration, that ruling does
  not necessarily preclude a new motion based on a modified class.
          While Defendant may have strategic reasons for its request, the Court sees no reason
  to deny Plaintiff the opportunity to file her motion. Plaintiff ultimately may not prevail on
  certification. Franco v. Conn. Gen. Life Ins. Co., 299 F.R.D. 417, 420 (D.N.J. 2014), aff’d,
  647 F. App’x 76 (3d Cir. 2016) (noting that the renewed “motion corrects some of the
  problems identified in Franco I,” but ultimately denying class certification); Gutierrez, 269
  F.R.D. at 432 (“It was plaintiffs’ prerogative to file a renewed motion, and they did so,”
  but finding certification improper). However, that does not preclude her from properly
  filing her motion now. The Court accordingly finds that briefing the Renewed Motion
  prior to summary judgment is appropriate.



                                                3
Case 2:11-cv-07382-WJM-JBC Document 327 Filed 12/28/18 Page 4 of 4 PageID: 12991



        IV.    CONCLUSION
         For the reasons stated above, Defendant’s request to stay briefing for the Renewed
  Motion is DENIED. Defendant’s request for leave to file for summary judgment prior to
  adjudication of the Renewed Motion is DENIED. An appropriate order follows.


        Dated: December 28, 2018


                                                        /s/ William J. Martini
                                                    WILLIAM J. MARTINI, U.S.D.J.




                                             4
